                         Case 8:11-cr-00420-DKC Document 31 Filed 05/25/12 Page 1 of 6
Sheet 1 - Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                                      Judgment Page 1 of 6



                                      United States District Court
                                                           District of Maryland
             UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                                                               (For Offenses Committed on or After November 1, 1987)
                                    v.
                                                                               Case Number: DKC-8-11-CR-00420-001
                KHARY CARLTON WOOD
                                                                               USMNumber: N/A
                                                                               Defendant's Attorney: Timothy 1. Sullivan
                                                                               Assistant U.S. Attorney: Christen A. Sproule, William
                                                                               Moomau
                                                                                                             ___         ,FIlED           ,ENTERED
                                                                                                             ___         LODGED          ,RECEIVED
THE DEFENDANT:
IZI pleaded guilty to count(s)    one of the information                                                               MAY 2 5 2012
o    pleaded nolo contendere to count(s) __     , which was accepted by the court.
                                                                                                                         AT GREENBEL T          ~
o    was found guilty on count(s) __     after a plea of not guilty.                                               CLERK U.S. DISTRICT COURT
                                                                                                                     D/2TRICT C,::: MARYLAND
                                                                                                           BY                                DEPUTY
                                                                                                         Date                           Count
          Title & Section                                   Nature of Offense                     Offense Concluded                   Number(s)
  18 U.S.C. S 2113(a) & (f)                  Bank Robbery, Aiding and Abetting                        1/11/2011                             1
      and 18 U.S.C. S 2

    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through    6    of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker, 125 S. Ct. 738 (2005).

o    The defendant has been found not guilty on count(s) __
o    Count(s) __    (is)(are) dismissed on the motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                                                                                May 25,2012
                                                                               Date of Imposition of Judgment




                                                                                   ~~L~                                           s;:kspz
                                                                               Deborah K. Chasanow                      Date
                                                                               United States District Judge



Name of Court Reporter: Tracy Dunlap
                         Case 8:11-cr-00420-DKC Document 31 Filed 05/25/12 Page 2 of 6

Sheet 2 - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)                                               Judgment Page 2 of 6
DEFENDANT: KHARY CARLTON WOOD                                                                     CASE NUMBER: DKC-8-11-CR-00420-001



                                                                IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 42     months.

IZI The court mak es the following recommendations to the Bureau of Prisons: placement as close to home as
possible.


D The def endant is remanded to the custody of the United States Marshal.

D The def endant shall surrender to the United States Marshal for this district:

     D at __      a.m.lp.m. on __     '
     D as notified b y the United States Marshal.

IZI The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
     at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
     the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     IZI before 2 p.m. on             July 9, 2012

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.C. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

                                                                        RETURN

I have executed this judgment as follows:

     Defendant delivered on __                    to __         at __          , with a certified copy of this judgment.



                                                                               UNITED STATES MARSHAL


                                                                               By:                                                        _
                                                                               DEPUTY U.S. MARSHAL
                         Case 8:11-cr-00420-DKC Document 31 Filed 05/25/12 Page 3 of 6
Sheet 3 - Judgment in a Criminal Case with Supervised Release (Rev. 11120II)                                                Judgment Page 30f 6
DEFENDANT:          KHARY CARLTON               WOOD                                           CASE NUMBER: DKC-8-II-CR-00420-00          I


                                                         SUPERVISED RELEASE
      Upon release from imprisonment,                  the defendant       shall be on supervised   release for a term of   3 years

The defendant          shall comply with all of the following conditions:

    The defendant shall report to the probation office in the district to which the defendant                       is released within 72
hours of release from the custody of the Bureau of Prisons.

                              A.      STATUTORY              CONDITIONS           OF SUPERVISED          RELEASE
I)  The defendant shall not comm it any federal, state or local crime.
2)  In any felony case, the defendant shall not possess a firearm or ammunition as defined in 18 U.S.c. S921.
3)  The defendant shall not illegally use or possess a controlled substance.
4)  The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
    drug tests thereafter, as directed by the probation officer.
IZI The above drug testing condition is suspended based on the court's determination that the defendantposes a low risk
    of future substance abuse. (Check, if applicable.)
5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, if
    applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau of Prisons, or as
    directed by the probation officer.
6) If this judgment imposes any criminal monetary penalty, including special assessment, fine, or restitution, it shall be a
    condition of supervised release that the defendant pay any such monetary penalty that remains unpaid at the
    commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
    Criminal Monetary Penalties sheet of this judgment. The defendant shall notify the court of any material change in
    the defendant's economic circumstances that might affect the defendant's ability to pay restitution, fines, or special
    assessments.

                                B.       STANDARD CONDITIONS OF SUPERVISION
I)    The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependents and meet other family responsibilities;                       .
5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
6)    The defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
      convicted of a felony unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
II)   The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12)   The defendant shall notify the probation officer within 72 hours of being charged with any offense, including a traffic offense;
13)   The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
      permission of the court;
14)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                         Case 8:11-cr-00420-DKC Document 31 Filed 05/25/12 Page 4 of 6

Sheet 4 - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)                           Judgment Page 4 of 6

DEFENDANT: KHARY CARLTON WOOD                                                  CASE NUMBER: DKC-8-11-CR-00420-001


                                                     C. SUPERVISED RELEASE
                                                     ADDITIONAL CONDITIONS

     1. ACCESS TO FINANCIAL INFORMATION
     IZIThe def endant shall provide the probation officer with access to any requested financial information.
                         Case 8:11-cr-00420-DKC Document 31 Filed 05/25/12 Page 5 of 6

Sheet 5, Part A - Judgment in a Criminal Case with Supervised Release (Rev. 1112011)                                            Judgment Page 5 of 6
DEFENDANT:          KHARY CARLTON WOOD                                                               CASE NUMBER: DKC-8-II-CR-00420-001


                                            CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                                                               Restitution
 TOTALS              $ 100                                               $                                      $ 90,000
 o       CVB Processing Fee $25.00



 o       The determination of restitution is deferred until Click h~re to enla a date.. An Amended Judgment in a Criminal Case (AO 245C)
                                                                                        will be entered after such determination.

 o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(i), all non federal
     victims must be paid before the United States is paid.
        Name of Payee                    Total Loss*                   Restitution Ordered              Priority or Percentage
 Wells Fargo Bank                                    90,000                             90,000




 TOTALS                                 $                     90,000             $                     90,000


 o      Restitution amount ordered pursuant to plea agreement

 o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.c. S 3612(f). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. S 3612(g).

 o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        o   the interest requirement is waived for the           0      fine      o    restitution

        o the interest requirement for the 0 fine        0 restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
                         Case 8:11-cr-00420-DKC Document 31 Filed 05/25/12 Page 6 of 6
Sheet 6 - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011)                                                   Judgment Page 6 of 6

DEFENDANT: KHARY CARLTON WOOD                                                                   CASE NUMBER: DKC-8-II-CR-00420-001


                                                      SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      0 In full immediately; or

B      IXI $_1 O_O         immediately, balance due (in accordance with C, D, or E); or

C      0 Not later than              ; or

D      0 Installments to commence                    day'(s) after the date of this judgment.

E      IXI In monthly       (e.g. equal weekly, monthly, quarterly) installments of $              150      over a period of      3     year(s) to
           commence when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetmy
penalties shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

       o    in equal monthly installments during the term of supervision; or

       o    on a nominal payment schedule of $                  per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

IXI Joint and Several

    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
    and corresponding payee, if appropriate.
    The restitution in favor of Wells Fargo is joint and several with Darnell Davis, DKC 11-171-001, and Ronnell Davis, DKC 11-
171-002, as well as Cortez Mallory, DKC 11-171-003, and Sherrita Taylor, DKC 11-424-001.


o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant shall forfeit the defendant's interest in the following property to the United States:
